              IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF OKLAHOMA


 UNITED STATES OF AMERICA,
                                    Plaintiff,
                  v.                                         No. 20-cv-00423-JFH
 JEFFREY LOWE, LAUREN LOWE,
 GREATER WYNNEWOOD EXOTIC
 ANIMAL PARK, LLC, and TIGER KING,
 L.L.C.,
                             Defendants.

 CARRIE M. LEO,                                          INTERVENOR’S MOTION FOR
                         Plaintiff-Intervenor,              EXTENSION OF TIME
                    v.                                       [AND LEAVE TO FILE]
 THE UNITED STATES OF AMERICA,
 JEFFREY AND LAUREN LOWE,                                (Fed. R. Civ. P. 6(b) and 15(a)(3))
                  Defendants-in-Intervention.



      NOW COMES the Intervening Plaintiff, Carrie Leo, as a self-represented

litigant, pursuant to Rules 12, 6(b) and 15(a)(3) of the Federal Rules of Civil

Procedure, move this Court for an order to extend time to file an answer or otherwise

plead in the above-titled action, including, if needed, leave to file a reply to the

USA’s response entitled THE UNITED STATES RESPONSE TO CARRIE

LEO’S MOTION TO INTERVENE.                        In support hereof, Ms. Leo shows the

following:

      1. Intervening Plaintiff filed a Motion to Intervene on August 26, 2921, as a

         result of the Defendant-in-Intervention USA performed an unlawful

         seizure of Intervening Plaintiff’s animals when Jeff Lowe signed an

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           acknowledgement of abandonment on August 13, 2021.                        The signed

           acknowledgement allowed the federal government to seize the rest of the

           animals residing at Lowes’ Thackerville facility by August 18, 2921,

           including those owned by the Intervening Plaintiff.

       2. Defendant-in-Intervention USA filed its response to the Motion to

           Intervene on September 9, 2021.

       3. According to Rule 12, the Intervening Plaintiff has 14 days to issue a reply

           to USA’s response to her Motion to Intervene providing her with a deadline

           set for the end of the month.

       4. The time for filing a reply or other pleading has not yet expired.

       5. This motion is not being made for the purpose of delay but is made based

           upon current workload and the need for time to prepare a response and

           have it reviewed by an attorney.

       WHEREFORE, Intervening Plaintiff respectfully requests the Court for an order

extending the time to file an answer or otherwise plead up to and including 30 September 2021, or

in the alternative, a deadline acceptable by the Court which would enlarge the time for the

Intervening Plaintiff to file her reply to the Defendant-in-Intervention’s response to the

Motion to Intervene. Ms. Leo also requests leave to file a reply, if needed.

This the 22nd day of September 2021.
                                                    Respectfully Submitted,

                                                    s/ Carrie M. Leo
                                                    Carrie M. Leo, Intervening Plaintiff, pro se
                                                    3199 Walworth Road, Walworth, NY 14568
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                            CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document,
entitled MOTION FOR EXTENSION OF TIME was sent to all involved parties
on September 22, 2021. It was sent both by way of everyone’s electronic mail
account as well as transmitted electronically by means of the court's electronic filing
system, to the following:

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